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                             UNITED STATES DISTRICT COURT
 8
                           SOUTHERN DISTRICT OF CALIFORNIA
 9
10     IMPRIMISRX, LLC,                                   Case No. 21-cv-01305-BAS-DDL
11                                     Plaintiff,
                                                          ORDER:
12           v.
                                                          (1) GRANTING IN PART AND
13                                                        DENYING IN PART MOTIONS TO
                                                          SEAL MOTION FOR PARTIAL
14     OSRX, INC.; OCULAR SCIENCE, INC.,                  SUMMARY JUDGMENT AND
15                                  Defendants.           RESPONSE (ECF Nos. 169, 202);
16
                                                          AND
17
                                                          (2) GRANTING MOTION TO SEAL
18
                                                          OPPOSITION TO MOTION FOR
19                                                        PARTIAL SUMMARY JUDGMENT
                                                          AND REPLY (ECF Nos. 205, 217)
20
21
22
23
24          Before the Court are four motions by the parties to file documents under seal. (ECF
25    Nos. 169, 202, 205, 217.) Plaintiff ImprimisRx, LLC seeks leave to file under seal portions
26    of its Motion for Partial Summary Judgment (ECF No. 169), its Response to Defendants’
27    Motion for Partial Summary Judgment, (ECF No. 202), and its Reply in Support of
28    Plaintiff’s Motion for Partial Summary Judgment. (ECF No. 217.) Defendants OSRX,

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 1    Inc. and Ocular Science, Inc. seek leave to file under seal portions of their Opposition to
 2    Plaintiff’s Motion for Partial Summary Judgment. (ECF No. 205.) All four motions to
 3    seal are unopposed. For the reasons stated below, the Court GRANTS IN PART and
 4    DENIES IN PART the motions to seal Plaintiff’s Motion for Partial Summary Judgment
 5    and Response to Defendants’ Motion for Partial Summary Judgment (ECF Nos. 169, 202),
 6    GRANTS Plaintiff’s motion to seal Plaintiff’s Reply in Support of its Motion for Partial
 7    Summary Judgment (ECF No. 217), and GRANTS Defendants’ motion to seal their
 8    Opposition to Plaintiff’s Motion for Partial Summary Judgment (ECF No. 205).
 9
10    I.    LEGAL STANDARD
11          “[T]he courts of this country recognize a general right to inspect and copy public
12    records and documents, including judicial records and documents.” Nixon v. Warner
13    Commc’ns, Inc., 435 U.S. 589, 597 (1978). “Unless a particular court record is one
14    ‘traditionally kept secret,’ a ‘strong presumption in favor of access’ is the starting point.”
15    Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (citing Foltz v.
16    State Farm Mut. Auto Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003)). “The presumption
17    of access is ‘based on the need for federal courts, although independent—indeed,
18    particularly because they are independent—to have a measure of accountability and for the
19    public to have confidence in the administration of justice.’” Ctr. for Auto Safety v. Chrysler
20    Grp., LLC, 809 F.3d 1092, 1096 (9th Cir. 2016) (quoting United States v. Amodeo, 71 F.3d
21    1044, 1048 (2d Cir. 1995)).
22          A party seeking to seal a judicial record bears the burden of overcoming the strong
23    presumption of access. Foltz, 331 F.3d at 1135. The showing required to meet this burden
24    depends upon whether the documents to be sealed relate to a motion that is “more than
25    tangentially related to the merits of the case.” Ctr. for Auto Safety, 809 F.3d at 1102. When
26    the underlying motion is more than tangentially related to the merits, the “compelling
27    reasons” standard applies. Id. at 1096–98. When the underlying motion does not surpass
28    the tangential relevance threshold, the “good cause” standard applies. Id. Motions for

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 1    summary judgment are dispositive and command the “compelling reasons” standard.
 2    Kamakana, 447 F.3d at 1180.
 3          “In general, ‘compelling reasons’ sufficient to outweigh the public’s interest in
 4    disclosure and justify sealing court records exist when such ‘court files might have become
 5    a vehicle for improper purposes,’ such as the use of records to gratify private spite, promote
 6    public scandal, circulate libelous statements, or release trade secrets.” Kamakana, 447
 7    F.3d at 1179 (quoting Nixon, 435 U.S. at 598). As to this last category, courts have been
 8    willing to seal court filings containing confidential business material, “such as marketing
 9    strategies, product development plans, licensing agreements, and profit, cost, and margin
10    data,” where the parties have been able to point to concrete factual information to justify
11    sealing. See, e.g., Cohen v. Trump, No. 13-cv-2519-GPC-WVG, 2016 WL 3036302, at *5
12    (S.D. Cal. May 27, 2016). However, “[t]he mere fact that the production of records may
13    lead to a litigant’s embarrassment, incrimination, or exposure to further litigation will not,
14    without more, compel the court to seal its records.” Kamakana, 447 at 1179. A blanket
15    protective order is not itself sufficient to show “good cause,” let alone compelling reasons,
16    for sealing particular documents. See Foltz, 331 F.3d at 1133; San Jose Mercury News,
17    Inc. v. U.S. District Court, N. Dist., 187 F.3d 1096, 1103 (9th Cir. 1999). The decision to
18    seal documents is “one best left to the sound discretion of the trial court” upon
19    consideration of “the relevant facts and circumstances of the particular case.” Nixon, 435
20    U.S. at 599.
21          In addition, parties moving to seal documents must comply with the procedures set
22    forth in this Court’s standing order for filing documents under seal. See Standing Order of
23    the Hon. Cynthia Bashant for Civil Cases ¶5. The rule permits sealing to “only those
24    documents, or portions thereof, necessary to protect such sensitive information.” Id. Thus,
25    although sometimes it may be appropriate to seal a document in its entirety, whenever
26    possible a party must redact. See Kamakana, 447 F.3d at 1183 (noting a preference for
27    redactions so long as they “have the virtue of being limited and clear”); Murphy v. Kavo
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 1    Am. Corp., No. 11–cv–00410–YGR, 2012 WL 1497489, at *2–3 (N.D. Cal. Apr. 27, 2012)
 2    (denying motion to seal exhibits but directing parties to redact confidential information).
 3    II.    ANALYSIS
 4           Plaintiff’s and Defendants’ motions to seal are all filed in connection with their
 5    associated motions for partial summary judgment. Because a motion for partial summary
 6    judgment is more than tangentially related to the merits of the underlying dispute, their
 7    motions to seal are subject to the “compelling reasons” standard. Kamakana, 447 F.3d at
 8    1180. The Court reviews each motion in light of this standard and for whether the motion
 9    to seal is sufficiently tailored.
10           A.     Plaintiff’s Motion to Seal in Connection with Plaintiff’s Motion for
11           Summary Judgment (ECF No. 169)
12           In its motion to seal, Plaintiff seek leave to file under seal portions of its Motion for
13    Partial Summary Judgment. (ECF No. 170.) Specifically, Plaintiff seek leave to file under
14    seal: redactions from Plaintiff’s Motion for Partial Summary Judgment; Exhibits 10–12,
15    14–15, and 21–55 attached to the Motion; portions of the deposition of Dr. Damien
16    Goldberg (“Goldberg Deposition”); portions of the deposition of Traci Inman (“Inman
17    Deposition”); portions of the deposition of France Vaccari (“Vaccari Deposition”);
18    portions of the deposition of Eric Garner (“Garner Deposition”); portions of the deposition
19    of Amy Frost (“Frost Deposition”); portions of the deposition of Andreas Groehn (“Groehn
20    Deposition”); portions of the deposition of Matthew Gee (“Gee Deposition”); and portions
21    of the deposition of Anthony Sampietro (“Sampietro Deposition”). (ECF No. 169-2.)
22           Plaintiff does not offer a reason in support of its motion to seal apart from the fact
23    the documents were designated “Confidential” and “Confidential – Attorney Eyes Only”
24    under the protective order. (ECF No. 169.) This justification alone is insufficient.
25    Kamakana, 447 F.3d at 1183.
26           In support of Plaintiff’s motion to seal, Defendants contend portions of Plaintiff’s
27    Motion for Partial Summary Judgment contain confidential business information and
28    private medical information. (ECF No. 184.) Courts have repeatedly held the need to keep

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 1    personal health information confidential outweighs the presumption in favor of public
 2    access. See, e.g., San Ramon Reg’l Med. Ctr., Inc. v. Principal Life Ins. Co., No. C 10-
 3    02258 SBA, 2011 WL 89931, at *1 n.1 (N.D. Cal. Jan. 10, 2011); Stafford v. Rite Aid
 4    Corp., No. 17-CV-1340-AJB-JLB, 2019 WL 3818015, at *1 (S.D. Cal. Aug. 14, 2019).
 5    Other courts have previously held that “confidential business information” in the form of
 6    “license agreements, financial terms, details of confidential licensing negotiations, and
 7    business strategies” satisfies the compelling reasons standard. See In re Qualcomm Litig.,
 8    No. 3:17-cv-0108-GPC-MDD, 2017 WL 5176922, at *2 (S.D. Cal. Nov. 8, 2017); Jam
 9    Cellars, Inc. v. Wine Group, LLC, No. 19-cv-01878-HSG, 2020 WL 5576346, at *2 (N.D.
10    Cal. Sept. 17, 2020). The Court reviews Plaintiff’s Motion in light of the reasons offered
11    and for whether the Motion is adequately tailored to the interests represented.
12                 1.    Plaintiff’s Motion for Partial Summary Judgment
13          Plaintiff seeks to file under seal redactions from its Motion for Partial Summary
14    Judgment (ECF No. 170.) These redactions fall into a few categories each meriting being
15    filed under seal. First, Plaintiff seeks to redact quotes from exhibits related to how OSRX
16    viewed its market competition and future business planning. (ECF No. 170 at 10, 11, 23,
17    27, 29.) Future business planning and competitive strategy are quintessential business
18    information that may harm a firm’s competitive standing if disclosed to the public. See,
19    e.g., Microsoft Corp. v. Motorola, Inc., No. C10-1823JLR, 2012 WL 5476846, at *4 (W.D.
20    Wash. Nov. 12, 2012); BBK Tobacco & Foods LLP v. Cent. Coast Agric. Inc., No. CV-19-
21    05216-PHX-MTL, 2021 WL 5578864, at *4 (D. Ariz. Nov. 29, 2021). Second, Plaintiff
22    seeks to redact internal discussions related to how OSRX pitches potential customers and
23    engages in contract negotiations. (ECF No. 170 at 11–12, 16–20.) A firm’s confidential
24    contract negotiations meet the standard for compelling reasons. See, e.g., Microsoft Corp.,
25    2012 WL 5476846, at *5. Finally, Plaintiff seeks to redact portions of its Motion that
26    discuss OSRX’s dosing schedule. (ECF No. 170 at 12–16, 19–20.) OSRX’s dosing
27    schedule provides insight into the annual number of OSRX prescriptions, pricing, and
28    quantity dispensed which may harm OSRX’s ability to compete. Courts have previously

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 1    held this sort of sensitive business information meets the compelling reasons standard. See,
 2    e.g., Cohen, 2016 WL 3036302, at *5.
 3          Accordingly, the Court grants Plaintiff’s motion with respect to this document.
 4                  2.   Plaintiff’s Exhibits in Support of Motion for Partial Summary
 5                       Judgment
 6          Plaintiff seeks to file certain exhibits attached to its Motion for Partial Summary
 7    Judgment under seal. Specifically, Plaintiff seeks to file Exhibits 10–12, 14–15, 21–55
 8    under seal.
 9                       i.     Discussions of Dosing Schedules: Exhibits 10, 26, 28, 35, and 38
10          Plaintiff seeks to file under seal exhibits related to Defendants’ dosing schedules for
11    various ophthalmological products. Exhibit 10 is an email with attachments that discuss
12    the dosing schedule for various OSRX products. (ECF No. 170-1 at 257.) Exhibits 26, 28,
13    35, and 38 are emails that discuss the purchase process and dose amounts per patient. (ECF
14    No. 170-2 at 105, 113, 146; ECF No. 170-3 at 20.) As discussed, the Court agrees that
15    documents discussing Defendants’ dosing schedule present a compelling reason to be filed
16    under seal.
17          Accordingly, the Court grants Plaintiff’s motion to seal these documents.
18                       ii.    Contract Negotiations and Pricing: Exhibits 11, 21–23, 27, 29–
19                              34, 36, 37, 39–51, and 54
20          Plaintiff seeks to file under seal exhibits that contain Defendants’ sales leads,
21    contract negotiations, or pricing information. Exhibit 11 is an email that identifies who
22    Defendants considered their largest competition and includes proposed pricing and
23    negotiations by Plaintiff. (ECF No. 170-1 at 265–66.) Exhibits 21–23, 27, 29–34, 36, 37,
24    39–51, and 54 are sales leads for potential new customers that include discussions of
25    pricing, customer business needs, purchasing requirements, shipping information, and
26    other contract details. (ECF No. 170-2 at 28, 33, 37, 109, 117, 122, 127, 130, 135, 139;
27    ECF No. 170-3 at 11, 15, 24, 34, 37, 42, 46, 50, 53, 56, 62, 70, 73, 76, 83.) As discussed,
28    other courts have previously held sales leads and contract negotiations present compelling

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 1    reasons to be filed under seal. See e.g., Rydman v. Champion Petfoods, USA Inc., No. 2:18-
 2    CV-01578-TL, 2023 WL 2711837, at *2 (W.D. Wash. Mar. 30, 2023) and Opperman v.
 3    Path, Inc., No. 13-CV-00453-JST, 2017 WL 1036652, at *5 (N.D. Cal. Mar. 17, 2017).
 4          Accordingly, the Court grants Plaintiff’s motion to seal these documents.
 5                       iii.   Prior Product Offerings and Strategy Presentations: Exhibits 12,
 6                              14
 7          Plaintiff seeks to file under seal two exhibits that were Defendants’ prior product
 8    offerings and strategy presentations. Exhibit 12 is an email that includes a strategy
 9    presentation given by Defendants in 2014. (ECF No. 170-1 at 269.) While the presentation
10    may include forward-looking business planning and strategy from 2014, the information
11    does not appear to be sensitive in the present day. Much of the information from the
12    presentation has been recycled in other presentations that are able to be accessed via the
13    internet. Exhibit 14 is a copy of the ophthalmic formulations catalog offered by Defendants
14    provided as reference material to potential new customers. (ECF No. 170-1 at 294.) This
15    information is available to the public through sales channels and does not appear to be the
16    present product offerings by Defendants. Because the information in these documents is
17    not currently relevant to Defendants’ market standing or is publicly accessible, the Court
18    does not find a compelling reason to seal these exhibits.
19          Accordingly, the Court denies Plaintiff’s motion to seal these documents.
20                       iv.    Recent Strategy Presentation: Exhibits 15, 25
21          In contrast to the older strategy presentation from 2014, Exhibit 15 is a copy of
22    Defendant Ocular Science’s October 2019 investment overview and strategy presentation
23    (ECF No. 170 at 321.) The presentation contains forward-looking business projections
24    and business planning that may contain confidential information relevant to today. The
25    presentation is consistently marked confidential and does not appear to be publicly
26    available. Exhibit 25 is a company and investment overview for Defendant OSRX that
27    contains financial projections and identifies who OSRX considers its primary competitors
28    in the market. (ECF No. 170-2 at 93.) Courts have consistently found confidential,

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 1    forward-looking business strategy presents a compelling reason to seal. See, e.g., Jam
 2    Cellars, Inc., 2020 WL 5576346, at *2; Microsoft Corp., 2012 WL 5476846, at *4.
 3    Because the type of information in this presentation may harm Defendant’s competitive
 4    standing in the market, the Court finds Plaintiff has alleged compelling reasons to seal the
 5    exhibits.
 6           Accordingly, the Court grants Plaintiff’s motion to seal these documents.
 7                         v.       Expert Report of Dr. Andreas Groehn: Exhibit 24
 8           Plaintiff seeks to file the Rebuttal Report of Dr. Andreas Groehn (“Groehn Report”)
 9    under seal as Exhibit 24 to Plaintiff’s Motion for Partial Summary Judgment. (ECF No.
10    170-2 at 42.) While portions of the Groehn Report may contain confidential business
11    information, most of the report is in response to the expert report of Sara Butler which
12    surveyed various populations about whether the terms registered as trademarks were brand
13    names or common names. This sort of study does not present information that would harm
14    Plaintiff’s or Defendants’ competitive standing. While designated confidential, mere
15    designation as “confidential” or “for attorneys’ eyes only” a discovery protective order for
16    does not provide a compelling reason that justifies sealing. Kamakana, 447 F.3d at 1183.
17    Additionally, the blanket request to seal the entire report, rather than particular redactions,
18    is insufficiently tailored.
19           Accordingly, the Court denies Plaintiff’s motion with respect to this document.
20                         vi.      Patient Prescription Information: Exhibit 55
21           Plaintiff seeks to file under seal Columns E–K of Exhibit 55 attached to its Motion
22    for Partial Summary Judgment. Exhibit 55 provides prescription data for patients including
23    the drugs prescribed, the prescribing doctor, the city, and the state. Columns E–K provide
24    patients’ information including their names, dates of birth, addresses, and phone numbers.
25    Courts have consistently found private patient health information presents a compelling
26    reason to file under seal. See, e.g., Stafford, 2019 WL 3818015, at *1. Here, the patients’
27    health information is not central to the dispute between the parties and presents a
28    compelling reason to seal the document.

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 1          Accordingly, the Court grants Plaintiff’s motion with respect to this document.
 2                        vii.      Other Documents: Exhibits 52 and 53
 3          Plaintiff seeks to file under seal two documents designated confidential that do not
 4    present confidential business information or personal health information. Exhibit 52 is an
 5    email thread that discusses a returned bottle of product. (ECF No. 170-3 at 78.) The
 6    content of the email does not discuss any potential sales leads, contract negotiations,
 7    pricing, dosing, or patient health information. Similarly, Exhibit 53 is an email thread
 8    about missing labels on a product. (ECF No. 170-3 at 81.) From the Court’s vantage, it
 9    does not contain any confidential business information or sensitive health information.
10    Accordingly, the Court does not find a compelling reason to sell these exhibits. The Court
11    denies the motion without prejudice to allow the parties to offer compelling reasons, if
12    available, for these documents to be sealed.
13                 3.     Deposition Selections in Support of Motion for Partial Summary
14                        Judgment
15          Attached to its Motion for Partial Summary Judgment, Plaintiff seeks to seal portions
16    of the transcripts of a number of depositions. Plaintiff seeks only to redact portions of these
17    transcripts rather than the entirety of the transcripts. In general, Plaintiff redacted portions
18    of these depositions where the deponent was asked questions to enter into evidence an
19    exhibit that Plaintiff was already attempting to seal. (See, e.g., Dep. of Traci Inman 99:7–
20    15.) In instances where the exhibit is only referred to and the deponent is not asked to
21    quote from the material or answer any follow-up questions that may include confidential
22    business information, the Court does not find a compelling reason to seal the redacted
23    portions of the transcript.
24          At times, however, Plaintiff seeks to redact portions of the deposition transcripts that
25    either quote from confidential and potentially sensitive documents or include discussion of
26    confidential business practices like dosing or contract negotiations. (See, e.g., Dep. of Eric
27    Garner 54:20–25.) In these instances, the Court finds a compelling reason to seal these
28

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 1    portions of the transcript. Appendix A to the attached order lists the instances where the
 2    redaction contains confidential business or health information.
 3          Accordingly, the Court GRANTS IN PART and DENIES IN PART Plaintiff’s
 4    motion to file the documents under seal. The Court makes this decision without prejudice.
 5          B.     Plaintiff’s Motion to Seal in Connection with Plaintiff’s Opposition to
 6          Defendants’ Motion for Partial Summary Judgment
 7          Plaintiff also seeks leave to file under seal portions of its Opposition to Defendants’
 8    Motion for Partial Summary Judgment. (ECF No. 202.) Specifically, Plaintiff seek leave
 9    to file under seal: excerpts of the Deposition of Eric Garner (“Garner Deposition”);
10    excerpts of the Deposition of Amy Frost (“Frost Deposition”); excerpts of the Deposition
11    of Traci Inman (“Inman Deposition”); excerpts of the Deposition of Anthony Sampietro
12    (“Sampietro Deposition”); excerpts of the Deposition of Francine Vaccari (“Vaccari
13    Deposition”); excerpts of the Deposition of Matthew Gee (“Gee Deposition”); and Exhibits
14    2, 5, 7, 11–19 attached to Plaintiff’s Opposition. (ECF No. 202-2.)
15          As before, Plaintiff does not offer a reason in support of its motion to seal apart from
16    the fact the documents were designated “Confidential” and “Confidential – Attorney Eyes
17    Only” under the protective order for this case. (ECF No. 202.) Again, this justification is
18    insufficient. Kamakana, 447 F.3d at 1183. In response to Plaintiff’s Motion to Seal,
19    Defendants offered in support of the motion that some documents contained Defendants’
20    confidential business information. And as stated, courts have found compelling reasons to
21    seal filings that contain confidential business material. See id. at 1179. Accordingly, the
22    Court reviews the documents to be sealed for whether (1) they contain confidential business
23    information and (2) the request to seal has been adequately tailored.
24                 1.    Contract Negotiations and Pricing: Exhibits 2, 5, 7, 11–19
25          Plaintiff seeks to file a handful of exhibits under seal that contain Defendants’
26    sales leads, contract negotiations, or pricing information. Courts have previously held
27    sales leads and contract negotiations present a compelling reason to be filed under seal
28    because that information may erode a party’s competitive advantage in the market or

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 1    provide a leg up to competitors. See e.g., Rydman, 2023 WL 2711837, at *2;
 2    Opperman, 2017 WL 1036652, at *5.
 3          Exhibit 2 is a series of emails with a prospective client that shows how Defendants
 4    pitch potential clients, Defendants’ understanding of the market, and the business needs of
 5    a potential sales lead. (ECF No. 203-1 at 16.) Exhibit 5 is a series of emails demonstrating
 6    how Defendant viewed its market standing, threats to its competitive advantage, and how
 7    customers felt about certain product lines. (ECF No. 203-1 at 36.) Exhibit 7 is a series of
 8    emails with a potential new customer discussing the industry, Defendants’ competitive
 9    advantage, and pricing. (ECF No. 203-1 at 43.) Exhibits 11, 12, 14, 15, 16, 17, 18, and 19
10    are similarly sales pitches to potential customers and demonstrate how Defendants’ pricing,
11    distribution, and sales tactics work in practice, which may provide insight and an advantage
12    to their competitors. (ECF No. 203-1 at 66, 73, 83, 88, 97, 101, 112.) Exhibit 13 is a series
13    of emails of a customer requesting to receive the same pricing as a prior deal, which would
14    provide sensitive sales lead information and pricing to customers. (ECF No. 203-1 at 78.)
15    Because these documents contain confidential business information, the Court finds there
16    are compelling reasons to seal these exhibits.
17          Accordingly, the Court grants Plaintiff’s motion with respect to these documents.
18                 2.     Deposition Excerpts: Exhibits 1, 4, 6, 9, 10
19           Plaintiff seeks to seal portions of the transcripts of the Frost Deposition, Garner
20    Deposition, Inman Deposition, Sampietro Deposition, Vaccari Deposition, and Gee
21    Deposition. (ECF No. 202-2.) Plaintiff seeks only to redact portions of these transcripts
22    rather than the entirety of the transcripts.
23          In general, the portions Plaintiff seeks to file under seal do not contain any sensitive
24    business information or personal health information. In some instances, Plaintiff sought to
25    redact portions of these depositions where the deponent was asked about an exhibit that
26    Plaintiff was already attempting to seal. In instances where the exhibit is only referred to
27    and the deponent is not asked to quote from the material or answer any follow-up questions
28    that may include confidential business information or dosage schedules, the Court does not

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 1    find a compelling reason to seal the redacted portions of the transcript. (See, e.g., Dep. of
 2    Traci Inman 158:10–19.) In other instances, Plaintiff seeks to file deposition portions
 3    where the deponent is asked broad questions about marketing or sales tactics. (See, e.g.,
 4    Dep. of Eric Garner 98:24–25.) The Court does not find these portions hold any sensitive
 5    business information that would potentially harm Defendants’ competitive standing.
 6          In two instances in the Inman Deposition, Plaintiff seeks to seal deposition excerpts
 7    that name particular customers and describe the sales negotiation processes for acquiring
 8    those customers. (See Dep. of Traci Inman 163:1, 190:18–191:13.) These portions of the
 9    transcripts contain sensitive business information. Appendix B to this order identifies
10    which excerpts present a compelling reason to be filed under seal.
11          Accordingly, the Court GRANTS IN PART and DENIES IN PART Plaintiff’s
12    motion to file the documents under seal. The Court makes this decision without prejudice.
13          C.     Defendants’ Motion to Seal in Connection with Defendants’ Opposition
14          to Plaintiff’s Motion for Partial Summary Judgment
15          In their motion to seal, Defendants seek leave to file under seal portions of their
16    Opposition to Plaintiff’s Motion for Partial Summary Judgment. (ECF No. 205.)
17    Specifically, Defendants seek leave to file under seal: portions of the Declaration of Brian
18    Holdorf (“Holdorf Declaration”); Exhibits 1 and 2 of the Holdorf Declaration; portions of
19    the Declaration of Amy Frost (“Frost Declaration”); Exhibits 30, 31, 32, 59, and 60
20    attached to the Declaration of Mikaela Burkhardt (“Burkhard Declaration”); and limited
21    portions of Defendants’ Opposition to Plaintiff’s Motion for Partial Summary Judgment.
22                 1.    Frost Declaration
23          Defendants seek leave to file under seal redacted portions of the Frost Declaration
24    related to the job performance of Kelsey Deschamps, a former employee of OSRX, and the
25    prescription and dispensing records of OSRX customers. With respect to the Deschamps
26    performance excerpts, Defendants argue that protecting a non-party employee’s personnel
27    records, including otherwise confidential performance evaluations, presents a compelling
28    interest to file under seal. (ECF No. 205 at 3.) Other courts have consistently found a

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 1    compelling reason to seal non-party personnel records given the reputational and privacy
 2    interests at stake. See, e.g., Amini v. Crestbrook Insur. Co., No. 2:21-CV-01377-LK, 2023
 3    WL 2913751, at *1 (W.D. Wash. Apr. 12, 2023). The Court finds this presents a
 4    compelling reason to seal the portions of the Frost Declaration. A non-party employee
 5    risks loss of future income and potential embarrassment if this information is made publicly
 6    available. While the public has a right to access these materials, the non-party employee’s
 7    interest in having these materials remain confidential is compelling enough to justify
 8    sealing.
 9          With respect to the OSRX prescriptions list, Defendants assert there is a business
10    interest in maintaining the confidentiality of their client list. As discussed before, the Court
11    finds this to be a compelling reason. Defendants have also narrowly tailored their
12    redactions of the Frost Declaration to only those portions regarding Deschamps’s job
13    performance and the OSRX prescriptions list.
14                 2.     Holdorf Declaration and Exhibits
15          As with the Frost Declaration, Defendants seek to file under seal redacted portions
16    of the Holdorf Declaration concerning the job performance of Deschamps. Defendants
17    also seek to file under seal Exhibit 1, a prior performance review of Deschamps, and
18    Exhibit 2, a job performance review of OSRX employee Cassidy Zirko, to the Holdorf
19    Declaration. As with the Frost Declaration, the Court finds the reputational and financial
20    risks to non-party employees from disclosure of these materials offer compelling reasons
21    to file the documents under seal.
22                 3.     Exhibits to the Burkhardt Declaration
23          Defendants move to file five exhibits to the Burkhardt Declaration under seal.
24    Exhibit 30 to the Burkhardt Declaration is an Imprimis Sales Training manual. (ECF No.
25    206-3 at 2.) This Court has previously held training manuals and material, where not the
26    subject of the dispute, present compelling reasons to seal given the business advantage their
27    disclosure would provide to competitors. See, e.g., Lucas v. Breg, Inc., No. 15-CV-00258-
28    BAS-NLS, 2016 WL 5464549, at *1 (S.D. Cal. Sept. 28, 2016). Exhibits 31 and 32 are

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 1    emails that discuss products ordered, business needs, and complaints by Imprimis
 2    customers. (ECF No. 206-4 at 2; ECF No. 206-5 at 3.) This sort of customer information
 3    presents a compelling reason to seal, as discussed before. Exhibits 59 and 60 are Imprimis-
 4    conducted mock FDA audits of its New Jersey facility. Plaintiff argues, in support of
 5    Defendants’ motion to seal, the audit contains competitive information because it discloses
 6    descriptions of the laboratory design, contracts with laboratories, and recommendations by
 7    consultants. (ECF No. 212 at 4.) The Court agrees. The manufacturing details and quality
 8    assessment contained in these exhibits would pose competitive disadvantages to Plaintiff
 9    if disclosed.
10                    4.    Defendants’ Opposition to Plaintiff’s Motion
11          Defendants seek to redact certain portions of their Opposition to Plaintiff’s Motion
12    for Partial Summary Judgment. The portions to be sealed, in general, either quote from
13    materials previously moved to be sealed that contain confidential and sensitive business
14    information or discuss the respective business needs of Plaintiff’s customers. Because
15    sensitive business information, such as sales leads and the business needs of customers,
16    may result in competitive disadvantage if disclosed, the Court finds there is a compelling
17    reason to file the redacted portions of Defendants’ Opposition under seal.
18          Accordingly, the Court GRANTS Defendants’ Motion to Seal. (ECF No. 205.)
19          D.        Plaintiff’s Motion to Seal in Connection with Plaintiff’s Reply in Support
20          of Plaintiff’s Motion for Partial Summary Judgment
21          Plaintiff moves to file under seal certain excerpts from its Reply in Support of its
22    Motion for Partial Summary Judgment. (ECF No. 217.) Plaintiff moves to seal portions
23    of its Reply that quote from exhibits Plaintiff previously sought to file under seal, as
24    discussed in this order, that contain confidential business information or information about
25    dosing schedules that may be harmful to Defendants’ competitive standing. (ECF No.
26    218.) Plaintiff incorporates by reference its prior motion to seal with respect to these
27    materials. The Court has previously reviewed the selected materials above and found these
28    documents present a compelling reason to be filed under seal.

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 1          Accordingly, the Court GRANTS Plaintiff’s Motion to Seal. (ECF No. 217.)
 2
 3          CONCLUSION
 4          Based on the foregoing, the Court:
 5          (1)   GRANTS IN PART and DENIES IN PART Plaintiff’s motion to file
 6                documents under seal (ECF No. 169).
 7          (2)   GRANTS IN PART and DENIES IN PART Plaintiff’s motion to file
 8                documents under seal (ECF No. 202).
 9          (3)   GRANTS Defendants’ Motion to file documents under seal in ECF No. 205.
10                The Clerk of the Court is directed to file the following documents under seal:
11                Opposition to Plaintiff’s Motion for Partial Summary Judgment and
12                associated attachments. (ECF Nos. 206, 206-1, 206-2, 206-3, 206-4, 206-5,
13                206-6, 206-7.)
14          (4)   GRANTS Plaintiff’s Motion to file documents under seal in ECF No. 217.
15                The Clerk of the Court is directed to file the following documents under seal:
16                Plaintiff’s Reply in Support of Plaintiff’s Motion for Summary Judgment.
17                (ECF No. 218.)
18          If Plaintiff or Defendants wish to file a renewed motion to seal for the denied
19    requests, they may do so no later than October 31, 2023 after the issuance of this order.
20    Otherwise, Plaintiff and Defendants are instructed to file the unredacted versions of the
21    aforementioned documents as directed by the Court in this Order on the public docket no
22    later than November 3, 2023 after the issuance of this order. For these documents, the
23    parties shall publicly file revised versions of these documents with only those redactions
24    that the court has approved on CM/ECF as a “Notice Regarding Exhibit Attachment.”
25    When filing the documents on the public docket, the parties must strictly adhere to the
26    relevant Federal Rules of Civil Procedure, this district’s Civil Local Rules, this Court’s
27    Standing Order for Civil Cases, and this district’s Electronic Case Filing Administrative
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 1    Policies & Procedures Manual. Non-compliance with this order or any relevant rules may
 2    result in sanctions pursuant to Civil Local Rule 83.1.
 3          IT IS SO ORDERED.
 4
 5    DATED: October 24, 2022
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                                                                Appendix A
                            Deposition Selections in Support of Plaintiff's Motion for Partial Summary Judgment

    Exhibit           Deponent               Page      Line                                        Ruling
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
1             Dr. Damien Goldberg       24          7–12       and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
1             Dr. Damien Goldberg       25          3–6        and does not include any private health information.
                                                               GRANTED.
                                                               The transcript selection contains confidential business information about
                                                               dosing schedules. Disclosure may provide competitors with an unfair
1             Dr. Damien Goldberg       33          18–25      business advantage.
                                                               GRANTED.
                                                               The transcript selection contains confidential business information about
                                                               dosing schedules. Disclosure may provide competitors with an unfair
1             Dr. Damien Goldberg       34          1–25       business advantage.
                                                               GRANTED.
                                                               The transcript selection contains confidential business information about
                                                               dosing schedules. Disclosure may provide competitors with an unfair
1             Dr. Damien Goldberg       35          1–8        business advantage.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
1             Dr. Damien Goldberg       66          19–25      and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
1             Dr. Damien Goldberg       67          1–16       and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
2             Traci Inman               59          23–25      and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
2             Traci Inman               60          1–21       and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
2             Traci Inman               65          23–25      and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
2             Traci Inman               66          1–11       and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
2             Traci Inman               99          7–15       and does not include any private health information.
                                                               GRANTED.
                                                               The transcript selection contains confidential business information about
                                                               dosing schedules. Disclosure may provide competitors with an unfair
2             Traci Inman               99          23–25      business advantage.
                                                               GRANTED.
                                                               The transcript selection contains confidential business information about
                                                               dosing schedules. Disclosure may provide competitors with an unfair
2             Traci Inman               100         1–10       business advantage.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
2             Traci Inman               122         1–16       and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
2             Traci Inman               129         6–18       and does not include any private health information.




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                                                                      Appendix A
                                  Deposition Selections in Support of Plaintiff's Motion for Partial Summary Judgment

     Exhibit            Deponent                   Page        Line                                      Ruling
                                                                      GRANTED.
                                                                      The transcript selection contains confidential business information about
                                                                      dosing schedules. Disclosure may provide competitors with an unfair
2              Traci Inman                    130         13–21       business advantage.
                                                                      DENIED.
                                                                      The transcript portion does not contain any confidential business information
2              Traci Inman                    134         9–20        and does not include any private health information.
                                                                      GRANTED.
                                                                      The transcript selection contains confidential business information about
                                                                      dosing schedules. Disclosure may provide competitors with an unfair
2              Traci Inman                    142         9–25        business advantage.
                                                                      DENIED.
                                                                      The transcript portion does not contain any confidential business information
2              Traci Inman                    143         1           and does not include any private health information.
                                                                      DENIED.
                                                                      The transcript portion does not contain any confidential business information
2              Traci Inman                    146         8–19        and does not include any private health information.
                                                                      DENIED.
                                                                      The transcript portion does not contain any confidential business information
2              Traci Inman                    191         25          and does not include any private health information.
                                                                      DENIED.
                                                                      The transcript portion does not contain any confidential business information
2              Traci Inman                    192         1–12        and does not include any private health information.
                                                                      DENIED.
                                                                      The transcript portion does not contain any confidential business information
2A             Traci Inman                    43          13–25       and does not include any private health information.
                                                                      DENIED.
                                                                      The transcript portion does not contain any confidential business information
2A             Traci Inman                    44          1–5         and does not include any private health information.
                                                                      GRANTED.
                                                                      The transcript selection contains confidential business information about
                                                                      sales pitches to customers. Disclosure may provide competitors with an
2A             Traci Inman                    53          17–19       unfair business advantage.
                                                                      GRANTED.
                                                                      The transcript selection contains confidential business information about
                                                                      dosing schedules. Disclosure may provide competitors with an unfair
2A             Traci Inman                    97          1–3         business advantage.
                                                                      DENIED.
                                                                      The transcript portion does not contain any confidential business information
2A             Traci Inman                    174         22–25       and does not include any private health information.
                                                                      GRANTED.
                                                                      The transcript selection contains confidential business information about
                                                                      how competition between firms is perceived. Disclosure may provide
2A             Traci Inman                    175         1–8         competitors with an unfair business advantage.
                                                                      DENIED.
                                                                      The transcript portion does not contain any confidential business information
3              Francine Vaccari               68          7–25        and does not include any private health information.
                                                                      GRANTED.
                                                                      The transcript selection contains confidential business information about
                                                                      dosing schedules. Disclosure may provide competitors with an unfair
3              Francine Vaccari               69          1–13        business advantage.
                                                                      DENIED.
                                                                      The transcript portion does not contain any confidential business information
3              Francine Vaccari               72          15–25       and does not include any private health information.




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                                                                     Appendix A
                                 Deposition Selections in Support of Plaintiff's Motion for Partial Summary Judgment

    Exhibit            Deponent                   Page        Line                                      Ruling
                                                                     DENIED.
                                                                     The transcript portion does not contain any confidential business information
3             Francine Vaccari               73          1–8         and does not include any private health information.
                                                                     DENIED.
                                                                     The transcript portion does not contain any confidential business information
3             Francine Vaccari               80          25          and does not include any private health information.
                                                                     DENIED.
                                                                     The transcript portion does not contain any confidential business information
3             Francine Vaccari               81          1–23        and does not include any private health information.
                                                                     GRANTED.
                                                                     The transcript selection contains confidential business information about
                                                                     how competition between firms is perceived. Disclosure may provide
4             Eric Garner                    54          20–25       competitors with an unfair business advantage.
                                                                     GRANTED.
                                                                     The transcript selection contains confidential business information about
                                                                     how competition between firms is perceived. Disclosure may provide
4             Eric Garner                    55          1–6         competitors with an unfair business advantage.
                                                                     DENIED.
                                                                     The transcript portion does not contain any confidential business information
4             Eric Garner                    63          18–25       and does not include any private health information.
                                                                     DENIED.
                                                                     The transcript portion does not contain any confidential business information
4             Eric Garner                    64          1–25        and does not include any private health information.
                                                                     DENIED.
                                                                     The transcript portion does not contain any confidential business information
4             Eric Garner                    65          1–17        and does not include any private health information.
                                                                     GRANTED.
                                                                     The transcript selection contains confidential business information about
                                                                     dosing schedules. Disclosure may provide competitors with an unfair
4             Eric Garner                    156         11–16       business advantage.
                                                                     DENIED.
                                                                     While potentially embarassing, the transcript portion does not contain any
                                                                     confidential business information and does not include any private health
4             Eric Garner                    161         7–10        information.
                                                                     DENIED.
                                                                     While potentially embarassing, the transcript portion does not contain any
                                                                     confidential business information and does not include any private health
4             Eric Garner                    166         11–20       information.
                                                                     GRANTED.
                                                                     The transcript selection contains confidential business information about
                                                                     dosing schedules. Disclosure may provide competitors with an unfair
4             Eric Garner                    193         14–25       business advantage.
                                                                     GRANTED.
                                                                     The transcript selection contains confidential business information about
                                                                     dosing schedules. Disclosure may provide competitors with an unfair
4             Eric Garner                    194         1–4         business advantage.
                                                                     DENIED.
                                                                     The transcript portion does not contain any confidential business information
4             Eric Garner                    201         22–25       and does not include any private health information.
                                                                     DENIED.
                                                                     The transcript portion does not contain any confidential business information
4             Eric Garner                    202         1–7         and does not include any private health information.
                                                                     DENIED.
                                                                     The transcript portion does not contain any confidential business information
4             Eric Garner                    223         19–25       and does not include any private health information.




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                                                                   Appendix A
                               Deposition Selections in Support of Plaintiff's Motion for Partial Summary Judgment

    Exhibit            Deponent                 Page       Line                                       Ruling
                                                                  DENIED.
                                                                  The transcript portion does not contain any confidential business information
4             Eric Garner                  224         1–3        and does not include any private health information.
                                                                  DENIED.
                                                                  The transcript portion does not contain any confidential business information
4             Eric Garner                  251         5–13       and does not include any private health information.
                                                                  DENIED.
                                                                  The transcript portion does not contain any confidential business information
4             Eric Garner                  254         19–25      and does not include any private health information.
                                                                  DENIED.
                                                                  The transcript portion does not contain any confidential business information
4             Eric Garner                  255         1          and does not include any private health information.
                                                                  GRANTED.
                                                                  The transcript selection contains confidential business information about
                                                                  future business planning. Disclosure may provide competitors with an unfair
5             Amy Frost                    16          11–23      business advantage.
                                                                  GRANTED.
                                                                  The transcript selection contains confidential business information about
                                                                  future business planning. Disclosure may provide competitors with an unfair
5             Amy Frost                    20          23–25      business advantage.
                                                                  GRANTED.
                                                                  The transcript selection contains confidential business information about
                                                                  future business planning. Disclosure may provide competitors with an unfair
5             Amy Frost                    21          1–25       business advantage.
                                                                  GRANTED.
                                                                  The transcript selection contains confidential business information about
                                                                  future business planning. Disclosure may provide competitors with an unfair
5             Amy Frost                    22          1–20       business advantage.
                                                                  DENIED.
                                                                  The transcript portion does not contain any confidential business information
5             Amy Frost                    115         10–12      and does not include any private health information.
                                                                  DENIED.
                                                                  The transcript portion does not contain any confidential business information
6             Andreas Groehn               125         19–25      and does not include any private health information.
                                                                  DENIED.
                                                                  The transcript portion does not contain any confidential business information
6             Andreas Groehn               126         1–5        and does not include any private health information.
                                                                  DENIED.
                                                                  The transcript portion does not contain any confidential business information
7             Matthew Gee                  54          16–22      and does not include any private health information.
                                                                  DENIED.
                                                                  The transcript portion does not contain any confidential business information
7             Matthew Gee                  58          22–25      and does not include any private health information.
                                                                  DENIED.
                                                                  The transcript portion does not contain any confidential business information
7             Matthew Gee                  59          1–14       and does not include any private health information.
                                                                  DENIED.
                                                                  The transcript portion does not contain any confidential business information
7             Matthew Gee                  64          10–25      and does not include any private health information.
                                                                  DENIED.
                                                                  The transcript portion does not contain any confidential business information
7             Matthew Gee                  65          1–5        and does not include any private health information.
                                                                  GRANTED.
                                                                  The transcript selection contains confidential business information about
                                                                  dosing schedules. Disclosure may provide competitors with an unfair
7             Matthew Gee                  67          6–25       business advantage.



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                                                                Appendix A
                            Deposition Selections in Support of Plaintiff's Motion for Partial Summary Judgment

    Exhibit           Deponent               Page      Line                                        Ruling
                                                               GRANTED.
                                                               The transcript selection contains confidential business information about
                                                               dosing schedules. Disclosure may provide competitors with an unfair
7             Matthew Gee               68          1–23       business advantage.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
7             Matthew Gee               70          20–25      and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
7             Matthew Gee               71          1–2        and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
7             Matthew Gee               77          21–25      and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
7             Matthew Gee               78          1–9        and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
7             Matthew Gee               85          7–17       and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
7             Matthew Gee               86          23–25      and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
7             Matthew Gee               87          1–19       and does not include any private health information.
                                                               DENIED.
                                                               While potentially embarassing, the transcript portion does not contain any
                                                               confidential business information and does not include any private health
7             Matthew Gee               94          16–20      information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
7             Matthew Gee               101         8–20       and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
7             Matthew Gee               157         12–24      and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
8             Anthony Sampietro         29          20–25      and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
8             Anthony Sampietro         30          1–9        and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
8             Anthony Sampietro         131         12–25      and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
8             Anthony Sampietro         132         1–6        and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
8             Anthony Sampietro         155         6–14       and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
8             Anthony Sampietro         156         2–25       and does not include any private health information.
                                                               DENIED.
                                                               The transcript portion does not contain any confidential business information
8             Anthony Sampietro         157         1–3        and does not include any private health information.



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                                                                    Appendix B
                 Deposition Selections in Support of Plaintiff's Opposition to Defendants' Motion for Partial Summary Judgment

     Exhibit            Deponent                Page        Line                                      Ruling
                                                                   DENIED.
                                                                   Characterization of the market does not contain any business sensitive or
1              Eric Garner                 84          10–18       confidential understanding of competition.
                                                                   DENIED.
                                                                   Discussion of how the product catalog is distributed does not amount to
1              Eric Garner                 93          24–25       sensitive business information.
                                                                   DENIED.
                                                                   Discussion of how the product catalog is distributed does not amount to
1              Eric Garner                 94          1–10        sensitive business information.
                                                                   DENIED.
                                                                   Characterization of public-facing materials, including marketing materials and
                                                                   the website, does not involve business sensitive information that may harm
1              Eric Garner                 98          24–25       Defendants' market standing.
                                                                   DENIED.
                                                                   Characterization of public-facing materials, including marketing materials and
                                                                   the website, does not involve business sensitive information that may harm
1              Eric Garner                 99          1–13        Defendants' market standing.
                                                                   DENIED.
                                                                   The discussion of sales tactics here does not appear to invoke confidential or
4              Traci Inman                 49          22–25       business sensitive information.
                                                                   DENIED.
                                                                   The discussion of sales tactics here does not appear to invoke confidential or
4              Traci Inman                 50          1           business sensitive information.
                                                                   DENIED.
                                                                   The selected material does not contain any sensitive business information or
4              Traci Inman                 82          25          personal health information.
                                                                   DENIED.
                                                                   The selected material does not contain any sensitive business information or
4              Traci Inman                 83          1–13        personal health information.
                                                                   DENIED.
                                                                   The selected material does not contain any sensitive business information or
4              Traci Inman                 158         10–19       personal health information.
                                                                   DENIED.
                                                                   The selected material does not contain any sensitive business information or
4              Traci Inman                 162         17–25       personal health information.
                                                                   DENIED.
                                                                   The selected material does not contain any sensitive business information or
4              Traci Inman                 163         1           personal health information.
                                                                   GRANTED.
                                                                   The selected material discusses particular customers and their transition
                                                                   between providers. This material would potentially harm Defendants' market
4              Traci Inman                 190         18–25       standing.
                                                                   GRANTED.
                                                                   The selected material discusses particular customers and their transition
                                                                   between providers. This material would potentially harm Defendants' market
4              Traci Inman                 191         1–13        standing.
                                                                   DENIED.
                                                                   The selected material does not contain any sensitive business information or
6              Anthony Sampietro           39          3–10        personal health information.
                                                                   DENIED.
                                                                   The discussion of sales tactics here does not appear to invoke confidential or
9              Francine Vaccari            176         3–19        business sensitive information.
                                                                   DENIED.
                                                                   The discussion of sales tactics here does not appear to invoke confidential or
10             Matthew Gee                 112         12–15       business sensitive information.




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                                                                    Appendix B
                 Deposition Selections in Support of Plaintiff's Opposition to Defendants' Motion for Partial Summary Judgment

     Exhibit           Deponent               Page       Line                                       Ruling
                                                                 DENIED.
                                                                 The selected material does not contain any sensitive business information or
10             Matthew Gee                 134        1–13       personal health information.




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